         Case:18-05288-EAG11 Doc#:238 Filed:09/06/19 Entered:09/07/19 00:54:10                                               Desc:
                            Imaged Certificate of Notice Page 1 of 3
                                               United States Bankruptcy Court
                                                  District of Puerto Rico
In re:                                                                                                     Case No. 18-05288-EAG
SKYTEC INC                                                                                                 Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0104-3                  User: borregom                     Page 1 of 1                          Date Rcvd: Sep 04, 2019
                                      Form ID: pdf003                    Total Noticed: 3


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Sep 06, 2019.
db             +SKYTEC INC,    500 CARR 869,    SUITE 501,   CATANO, PR 00962-2011
cr             +LOGISTIC SYSTEMS, INC.,    3000 PALMER,    MISSOULA, MT 59808-1671
cr             +ORIENTAL BANK,    PO BOX 11750,    FERNANDEZ JUNCOS STATION,   SAN JUAN, PR 00910-2850

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Sep 06, 2019                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on September 4, 2019 at the address(es) listed below:
              ALEXIS FUENTES HERNANDEZ     on behalf of Debtor    SKYTEC INC alex@fuentes-law.com,
               fuenteslaw@icloud.com
              ALFREDO FERNANDEZ MARTINEZ     on behalf of Creditor    ORIENTAL BANK
               afernandez@delgadofernandez.com, aperez@delgadofernandez.com
              ANDREW MORTON     on behalf of Creditor   LOGISTIC SYSTEMS, INC. andrew.morton@stoel.com
              BRYAN T GLOVER    on behalf of Creditor   LOGISTIC SYSTEMS, INC. bryan.glover@stoel.com,
               Sandra.lonon@foster.com;litdocket@foster.com
              CARLOS A RODRIGUEZ VIDAL    on behalf of Creditor    LOGISTIC SYSTEMS, INC.
               crodriguez-vidal@gaclaw.com
              FRANSHESKA JANET PABON    on behalf of Creditor    FIRST BANK PUERTO RICO FPabon@lvvlaw.com,
               NCruz@lvvlaw.com
              IVAN M CASTRO ORTIZ    on behalf of Creditor    MUNICIPALITY OF CATANO icastro@alblegal.net
              MARISTELLA SANCHEZ RODRIGUEZ     on behalf of Creditor    ORIENTAL BANK
               msanchez@delgadofernandez.com, blopez@delgadofernandez.com;msanchez.ecf@gmail.com
              MONSITA LECAROZ ARRIBAS     ustpregion21.hr.ecf@usdoj.gov
              SOLYMAR CASTILLO MORALES     on behalf of Creditor    LOGISTIC SYSTEMS, INC. scastillo@gaclaw.com,
               jrosado@gaclaw.com
              Samuel T. Bull,    on behalf of Creditor   LOGISTIC SYSTEMS, INC. sam.bull@foster.com,
               jan.howell@foster.com;litdocket@foster.com
              US TRUSTEE   ustpregion21.hr.ecf@usdoj.gov
                                                                                              TOTAL: 12
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                                 UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF PUERTO RICO

                                               Minute Entry

  Hearing Information:

  Debtor: SKYTEC INC.
  Case Number: 18-05288-EAG11                                                    Chapter: 11
  Date / Time / Room: 08/29/2019 09:30 am
  Bankruptcy Judge: EDWARD A. GODOY
  Courtroom Clerk: MARTA BORREGO
  Reporter / ECR: EDNA SANABRIA

  Matter:

  EVIDENTIARY HEARING

  Appearances:

  ALEXIS FUENTES HERNANDEZ, ATTORNEY FOR DEBTOR
  MARISTELLA SANCHEZ, ATTORNEY FOR ORIENTAL BANK
  SOLYMAR CASTILLO MORALES, ATTORNEY FOR LOGISTIC SYSTEMS, INC.
  CARLOS A. RODRIGUEZ VIDAL, ATTORNEY FOR LOGISTIC SYSTEMS, INC.
  ANDREW MORTON, ATTORNEY FOR LOGISTIC SYSTEMS, INC.

  Minutes of Proceedings:

                                                  ORDER:

            Based on what was admitted in open court by counsel for the movant and counsel for the
  debtor, bearing in mind that there is a final and unappealable judgment from the District Court in favor
  of the movant in the approximate amount of $4.4 million which arises from prepetition debt, and noting
  that it is uncontested that the relationship between the two parties terminated in January 2017, the Court
  made an initial ruling that the debtor was insolvent within the 90-day preference period prior to the
  bankruptcy and also within the one-year period for preferential payments made for the benefit of
  insiders.

           After a short recess during which the parties met in chambers, the parties informed the court
  that they are negotiating a possible solution to the contested matter that would entail the appointment of
  an examiner, which would need to be approved by the U.S. Trustee. In light of this, the parties are
  ordered to file a joint motion by September 12, 2019 either stipulating to the appointment of an examiner
  and delineating any expanded powers he or she may have, if any, or to inform the Court that no
  agreement was reached. Today's evidentiary hearing is continued to October 21, 2019 at 9:30 a.m. in
  the United States Bankruptcy Court, 300 Recinto Sur Street, Courtroom 2, San Juan, Puerto Rico and if
  necessary October 22, 2019 at 9:30 a.m. at the United States Bankruptcy Court, Southwestern Divisional
  Office, MCS Building, Second Floor, 880 Tito Castro Avenue, Ponce, Puerto Rico.
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          With the consent of the debtor and Logistic Systems, Inc., Oriental Bank's order approving the
  use of cash collateral is extended to October 31, 2019 under the same terms as previously agreed.

         SO ORDERED.


                                                 /s/EDWARD A. GODOY
                                                 U. S. Bankruptcy Judge
